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    PAUL PELOSI ATTACKED
    Suspect in Paul Pelosi Beating Is in the U.S. Illegally, DHS
    Confirms
    David DePape, 42, is being held in San Francisco County jail on attempted murder and multiple other
    felony charges

    By NBC Bay Area staff • Published November 3, 2022 • Updated on November 3, 2022 at 11:20 am



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               0:02 / 2:29


    The man suspected of attacking Speaker Nancy Pelosi’s husband in their San Francisco home last week is in the
    United States illegally, a Department of Homeland Security spokesperson confirmed Thursday. Kris Sanchez
    reports


   The man suspected of attacking Speaker Nancy Pelosi's husband in their San Francisco home last
   week is in the United States illegally, a Department of Homeland Security spokesperson confirmed

https://www.nbcbayarea.com/news/local/san-francisco/suspect-in-paul-pelosi-beating-is-in-the-u-s-illegally-dhs-confirms/3067366/                         1/4
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   Thursday.


   "U.S. Immigration and Customs Enforcement (ICE) lodged an immigration detainer on Canadian
   national David DePape with San Francisco County Jail, Nov. 1, following his Oct. 28 arrest," the DHS
   spokesperson said in a statement to NBC Bay Area.


   DePape, 42, is being held in San Francisco County jail on attempted murder and multiple other felony
   charges after he allegedly broke into the Pelosi home in Pacific Heights and brutally assaulted Paul
   Pelosi with a hammer. Court documents show he was looking for Nancy Pelosi and wanted to break
   her kneecaps.


   DePape's last known residence was in Richmond.



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   The DHS official went on to say records show that DePape entered the U.S. on March 8, 2008, at San
   Ysidro Point of Entry as a temporary visitor, classified under the Immigration and Nationality Act as a
   B2.


   The spokesperson added that admissible Canadian travelers who present themselves as a visitor for
   business or pleasure generally do not require a visa and are generally admitted for 6 months in the
   U.S.




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       2:40
       Suspect ‘Violently Assaulted' Nancy Pelosi's Husband With
       Hammer: SF Police


   The San Francisco police chief gave details Friday on the early morning attack against the husband of Speaker
   Nancy Pelosi, D-Calif., during which the suspect, 42-year-old David Depape, attacked Paul Pelosi with a hammer in
   front of responding officers.

   ICE places immigration detainers on individuals who have been arrested on criminal charges and
   who ICE has probable cause to believe are removable under the Immigration and Nationality Act
   (INA), the spokesperson continued. The detainer requests the other law enforcement agency to notify
   ICE before a removable individual is released from custody so that ICE can take custody of that
   person in a safe and secure setting.


   DePape has pleaded not guilty to the charges and is scheduled to be back in court Friday.



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